













Opinion issued February 17, 2006








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-03-00544-CV
____________

BROWN &amp; ROOT, INC. N/K/A KELLOGG BROWN &amp; ROOT, INC.;
KELLOGG BROWN &amp; ROOT, INC. F/K/A BROWN &amp; ROOT, INC. AND
AS SUCCESSOR IN INTEREST TO BROWN &amp; ROOT, INC.; BROWN &amp;
ROOT I, INC. N/K/A KELLOGG BROWN &amp; ROOT, INC.; BROWN &amp;
ROOT USA, INC. N/K/A KELLOG BROWN &amp; ROOT, INC.; KELLOG
BROWN &amp; ROOT, INC., Appellants

V.

PATTI KILOUGH, INDIVIDUALLY AND AS PERSONAL
REPRESENTATIVE OF THE HEIRS AND ESTATE OF HERREL W.
KILOUGH, DECEASED, Appellee




On Appeal from the 127th District Court
Harris County, Texas
Trial Court Cause No. 1998-27940




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants have filed a motion to dismiss their appeal.  More than 10 days have
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Taft, Jennings, and Alcala.


